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                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION- LONDON
                                    CIVIL MINUTES-GENERAL

CASE NO: 6:17-CV-157-CHB-HAI                  AT: London               DATE: December 6, 2018

STYLE:      David Wilson, Adm. of Estate of Lisa Noble v. Beacon Transport, LLC, et al.


PRESENT: HON. HANLY A. INGRAM, MAGISTRATE JUDGE

          Kim Allen                                                    Audio File Number
         Deputy Clerk                                                  Court Reporter

I, Kim Allen, Deputy Clerk, CERTIFY the official record of this proceeding
is an audio file KYED-LON_6-17-CV-157-CHB-HAI_20181206_144229.

ATTORNEYS PRESENT FOR PLAINTIFF:                        ATTORNEY PRESENT FOR DEFENDANTS:
Timothy Lange                                           Harlan Judd

 PROCEEDINGS: TELEPHONIC CONFERENCE CALL

      This matter was scheduled for a telephonic conference with counsel participating as noted.
 Also on the call was Dixie Satterfield. The purpose of the conference call was to discuss Defendant’s
 pending motion at DE #99.

      After hearing from counsel, for the reasons and in the manner stated, IT IS ORDERED as
 follows: The defendant shall file a notice in the record on or before December 10, 2018 indicating
 whether counsel for the parties will pursue an agreed order allowing depositions of Selena Moore
 and Tammy Saylor or if they prefer the undersigned to issue a ruling on the motion.


COPIES TO:

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Clerk=s Initials: kja

  TIC: 13 min.
